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              IN THE UNITED STATES DISTRICT COURT
         FOR THE SOUTHERN DISTRICT OF FLORIDA (Key West)

  BIANCA N. DIGENNARO, as the                       Civil Action No.:
  legal guardian of HMM, a minor,
                                                    JURY TRIAL DEMANDED
                          Plaintiff,                CIVIL ACTION – LAW

              v.                                    District Judge:
                                                    Magistrate Judge:
  MICHAEL L. MALGRAT,
  KENNETH JW WAITE,
  FRED C. SIMS,
  ASHLEY N. HENRIQUEZ,
  KYLE SHEER,
  FRAN HERIN,
  CITY OF KEY WEST, FLORIDA, and
  MONROE COUNTY SCHOOL DISTRICT,

                          Defendants.


                                   COMPLAINT


        AND NOW comes the Plaintiff, BIANCA N. DIGENNARO, as the legal

  guardian of HMM, a minor, by and through her counsel, DEVON M. JACOB,

  ESQUIRE, of the law firm of JACOB LITIGATION, INC.; and BENJAMIN L.

  CRUMP, ESQUIRE, of BEN CRUMP LAW, PLLC; to aver the following:

                          JURISDICTION AND VENUE

        1.    This action is brought pursuant to 42 U.S.C. § 1983.


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        2.     Jurisdiction is founded upon 28 U.S.C. §§ 1331, 1343, and 1367.

        3.     Venue is proper in this Court, as all parties are located within the

  Southern District of Florida, and the cause of action arose in the Southern District of

  Florida.

                                        PARTIES

        4.     Plaintiff, BIANCA N. DIGENNARO (“DIGENNARO”), is an adult

  individual, who lives in the Southern District of Florida. DIGENNARO is the

  biological mother and legal guardian of HMM, a minor.

        5.     Defendant, MICHAEL L. MALGRAT (“MALGRAT”), is an adult

  individual, who during all relevant times, was employed by the Key West Police

  Department, as a police officer. All of Defendant MALGRAT’S actions or inactions

  were taken under color of state law. He is sued in his individual capacity.

        6.     Defendant, KENNETH JW WAITE (“WAITE”), is an adult individual,

  who during all relevant times, was employed by the Key West Police Department,

  as a police officer. All of Defendant WAITE’S actions or inactions were taken under

  color of state law. He is sued in his individual capacity.

        7.     Defendant, FRED C. SIMS (“SIMS”), is an adult individual, who

  during all relevant times, was employed by the Key West Police Department, as a

  police officer. All of Defendant SIMS’ actions or inactions were taken under color

  of state law. He is sued in his individual capacity.

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        8.     Defendant, ASHLEY N. HENRIQUEZ (“HENRIQUEZ”), is an adult

  individual, who during all relevant times, was employed by the Monroe County

  School District and/or Gerald Adams Elementary, as a teacher. All of Defendant

  HENRIQUEZ’S actions or inactions were taken under color of state law. She is sued

  in her individual capacity.

        9.     Defendant, KYLE SHEER (“SHEER”), is an adult individual, who

  during all relevant times, was employed by the Monroe County School District

  and/or Gerald Adams Elementary, as an Assistant Principal. All of Defendant

  SHEER’S actions or inactions were taken under color of state law. He is sued in his

  individual capacity.

        10.    Defendant, FRAN HERIN (“HERIN”), is an adult individual, who

  during all relevant times, was employed by the Monroe County School District

  and/or Gerald Adams Elementary, as a Principal. All of Defendant HERIN’S actions

  or inactions were taken under color of state law. She is sued in her individual

  capacity.

        11.    Defendant, CITY OF KEY WEST, FLORIDA (“CITY”), owns and

  operates the Key West Police Department.

        12.    Defendant, MONROE COUNTY SCHOOL DISTRICT (“SCHOOL

  DISTRICT”), owns and operates Gerald Adams Elementary.




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                                 MATERIAL FACTS

        13.    MONROE COUNTY SCHOOL DISTRICT (“SCHOOL DISTRICT”)

  operates Gerald Adams Elementary, 5855 College Avenue, Key West, Florida

  33040.

        14.    During    all   relevant    times,   ASHLEY        N.    HENRIQUEZ

  (“HENRIQUEZ”) was employed by the SCHOOL DISTRICT and/or Gerald Adams

  Elementary, as a teacher.

        15.    During all relevant times, KYLE SHEER (“SHEER”) was employed

  by the SCHOOL DISTRICT and/or Gerald Adams Elementary, as an Assistant

  Principal.

        16.    During all relevant times, FRAN HERIN (“HERIN”) was employed by

  the SCHOOL DISTRICT and/or Gerald Adams Elementary, as a Principal.

        17.    During all relevant times, HMM was an elementary school student in

  the SCHOOL DISTRICT.

        18.    SCHOOL DISTRICT conducted a Functional Behavioral Assessment

  (“FBA”), which resulted in SCHOOL DISTRICT implementing a Positive

  Behavioral Intervention Plan (PBIP) for HMM.

        19.    SCHOOL DISTRICT knew that in February of 2018, HMM was Baker

  Acted and hospitalized (for less than 24 hours) after making statements of self-harm.




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         20.    SCHOOL DISTRICT knew that HMM was discharged with a diagnosis

  of Oppositional Defiance Disorder and Adjustment Disorder with Mixed

  Disturbance of Emotional Conduct.

         21.    In February of 2018, after observing inconsistent academic

  performances and behavioral difficulties from HMM despite instructional

  intervention and counseling, SCHOOL DISTRICT conducted a psychoeducational

  evaluation.

         22.    The purpose of the psychoeducational evaluation was to determine

  appropriate educational programming for HMM and to determine whether HMM

  met the eligibility definitions for a disability as defined by the Florida Department

  of Education and IDEA.

         23.    On April 30, 2018, SCHOOL DISTRICT initiated an Individual

  Educational Plan (“IEP”) for HMM, which was amended on October 11, 2018.

         24.    The IEP noted the primary exceptionality as emotional or behavioral

  disability.

         25.    The IEP noted the aforementioned diagnoses, in addition to a diagnosis

  of Attention Deficit Hyperactivity Disorder (“ADHD”).

         26.    The IEP noted the FBA and resulting PBIP.

         27.    The SCHOOL DISTRICT and Gerald Adams Elementary classified

  HMM as having an “Emotional or Behavioral Disability.”

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        28.    The CITY OF KEY WEST, FLORIDA (“CITY”) owns and operates

  the Key West Police Department.

        29.    On December 14, 2018, KENNETH JW WAITE (“WAITE”), FRED

  C. SIMS (“SIMS”), and MICHAEL L. MALGRAT (“MALGRAT”), were

  employed by the Key West Police Department, as police officers.

        30.    Police officers employed by the Key West Police Department are

  assigned to certain schools in Monroe County, including Gerald Adams Elementary.

        31.    The police officers are responsible for the protection and safety of

  school personnel, property, and students within the school district.

        32.    The police officers perform general law enforcement duties, present

  law-related education programs, identify students displaying early signs of

  delinquency, and serve as a referral resource for students, faculty, and parents.

        33.    On December 14, 2018, MALGRAT was working at Gerald Adams

  Elementary as a School Resource Officer (“SRO”).

        34.    On and before the same date, it was known to SCHOOL DISTRICT,

  HERIN, SHEER, MALGRAT, and HENRIQUEZ, that HMM was “disabled” as

  defined by the Americans with Disabilities Act.

        35.    While SCHOOL DISTRICT policy 5630B permits school employees

  to use “reasonable physical force” against students “to maintain a safe learning




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  environment,” neither the IEP nor the BIP provided for the use of any force against

  HMM.

        36.    Rather, to the exclusion of physical force, the BIP listed non-physical

  responses to be utilized with HMM to maintain a safe learning environment.

        37.    Furthermore, neither the IEP nor the BIP provided for the use of police

  officers, handcuffs, or verbal intimidation, i.e., scared straight tactics, for purposes

  of behavioral modification.

        38.    On or about December 14, 2018, SCHOOL DISTRICT, HERIN,

  SHEER, and/or HENRIQUEZ, placed HMM in a classroom and lunchroom setting

  that they knew was not appropriate for his disability.

        39.    HENRIQUEZ, who was not HMM’s regular teacher and who was not

  well known to HENRIQUEZ, was assigned to oversee the class.

        40.    On December 14, 2018, HMM was 8 years old, only approximately 3

  feet 6 inches tall, and 64 pounds.

        41.    On the same date, HENRIQUEZ reported to HERIN, SHEER, and/or

  MALGRAT that HMM had refused to sit on a bench properly despite requests that

  he do so.

        42.    HENRIQUEZ further reported that when HMM refused to comply, she

  requested that HMM come sit next to her.




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         43.    HENRIQUEZ further reported that when HMM again refused to

  comply, she got up, and walked over to him.

         44.    HENRIQUEZ further reported that she went hands-on in an attempt to

  physically move HMM, and as she did so, HMM told her not to put her hands on

  him.

         45.    HENRIQUEZ further reported that when she did not let go of HMM,

  HMM “punched” her once in the chest with his right hand.

         46.    HENRIQUEZ did not report being injured and did not appear to be

  injured.

         47.    Pursuant to school policy, parents are informed that school officials

  have the right and duty to interview students when investigating crimes, or reports

  thereof, committed during school hours or on school property without prior

  notification or presence of parents.

         48.    Pursuant to school policy, parents are further informed:

         Law enforcement and/or social service officials will be called to the school when
         laws have or may have been violated and in situations where the safety or welfare
         of students and/or employees is threatened. In these situations, students may be
         interviewed by law enforcement and/or social service officials in accordance with
         all applicable state and federal juvenile laws. When school officials have requested
         the assistance of law enforcement and/or social service officials in investigating a
         crime, unsafe or life threatening situation involving students, staff, or district
         property, the law enforcement and/or social service official has implied permission
         to interview/interrogate students in school during school hours.

         49.    Despite knowing that they were required by state and federal law to

  conduct a reasonable investigation, which includes interviewing the witnesses at the

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  scene, and despite knowing that they were permitted to interview him, HERIN,

  SHEER, and MALGRAT did not interview HMM.

        50.     Had HERIN and SHEER interviewed HMM and other available

  witnesses, and reviewed security video that is believed to have existed, they would

  have discovered that no crime had been committed, and that police intervention was

  neither necessary nor appropriate.

        51.     Had MALGRAT interviewed HMM and other available witnesses, and

  reviewed security video that is believed to have existed, he would have discovered

  that probable cause did not exist to criminally charge HMM with any crime; let alone

  with felony battery.

        52.     Pursuant to FED.R.CIV.P. 11(b)(3), the following factual contentions

  will likely have evidentiary support after a reasonable opportunity for further

  investigation or discovery:

              a. MALGRAT knew that the aforementioned conduct, i.e., a single no

  injury punch, would generally not result in a warrantless arrest; and

              b. MALGRAT knew that the aforementioned conduct, i.e., a single no

  injury punch, would generally not result in the filing of felony criminal charges.

        53.     Regardless, HERIN, SHEER, HENRIQUEZ, and/or MALGRAT,

  summoned WAITE and SIMS to the school and caused HMM to be taken into

  custody by WAITE and SIMS.

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          54.       SCHOOL      DISTRICT,     HERIN,     SHEER,     HENRIQUEZ,       and

   MALGRAT, had a duty not to turn physical custody of HMM over to WAITE and

   SIMS, but they did so anyway.

          55.       MALGRAT had a duty not to cause WAITE and SIMS to believe that

   probable cause existed to arrest HMM for felony battery.

          56.       While WAITE and SIMS were permitted to rely in good faith on

   MALGRAT’S representation that probable cause existed to arrest HMM, they were

   not permitted to use unreasonable force to effect HMM’S arrest.

          57.       When WAITE and SIMS arrived, HMM was sitting on a bench, in the

   hallway just outside of the school office. in clear view of HERIN and SHEER.

          58.       The incident for which WAITE and SIMS had been summoned had

   ended.

          59.       HMM was sitting quietly and calmly, and was visibly upset and scared.

          60.       Regardless, in an attempt to teach HMM a lesson, despite knowing that

   HMM was not “going to jail” (in the common understanding of that statement),

   WAITE, SIMS, and MALGRAT, intentionally led HMM to believe that he was

   going to jail.

          61.       Specifically, WAITE, SIMS, and/or MALGRAT, stated to HMM, “So

   you know where you are going? You are going to jail. So you need to stand up and

   put your hands behind your back.”

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         62.    In a further attempt to teach HMM a lesson, despite the fact that HMM

   was not a physical threat to himself or others, WAITE, SIMS, and MALGRAT,

   handcuffed and/or permitted HMM to be handcuffed.

         63.    Referencing the handcuffs, WAITE, SIMS, and MALGRAT, stated,

   “You can justify it,” and “You can try it.”

         64.    HMM was so young and physically small, however, that after the

   handcuffs were applied, it was determined that they were too big and could not be

   properly used on HMM.

         65.    As such, the handcuffs were removed and HMM was told to simply

   walk with his hands in front of him.

         66.    Visibly upset and scared, HMM asked for his dad.

         67.    Despite his dad still being in the building, WAITE, SIMS, and/or

   MALGRAT, told HMM that his dad had left the school.

         68.    Before exiting the building, WAITE, SIMS, and MALGRAT stated,

   “You understand this is very serious, ok? And, I hate that you put me in this position

   that I have to do this. Ok? Alright? The thing about it is, you made a mistake now it

   is time to learn from it and grow from it. Right? Not repeat the same mistake again.

   Ok? Alright.”

         69.    HMM was then escorted out of the building and to a marked patrol

   vehicle.

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             70.      HMM was then permitted to enter the rear seat of the patrol vehicle,

   without handcuffs, without being searched, and was permitted to put on his own

   seatbelt.

             71.      WAITE, SIMS, and/or MALGRAT then locked HMM in the back of

   the patrol vehicle.

             72.      WAITE and/or SIMS then transported HMM to the adult jail for

   processing.

             73.      A true and correct copy of a video recording of the incident is attached

   at Exhibit 1.1

             74.      Pursuant to FED.R.CIV.P. 11(b)(3), the following factual contentions

   will likely have evidentiary support after a reasonable opportunity for further

   investigation or discovery:

                   a. CITY and SCHOOL DISTRICT adopted and implemented policies and

   procedures that permitted the aforementioned conduct.

                   b. In the alternative, CITY and SCHOOL DISTRICT failed to enforce

   their policies and procedures that would have prevented the aforementioned conduct.

                   c. CITY and SCHOOL DISTRICT did not adopt and implement, or did

   not enforce, policies, procedures and/or training that complied with industry

   standards regarding criminal investigation, use of force, arrest, policing within an


   1
       The video is redacted to remove HMM’s name and to pixelate HMM’s face.
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   elementary school, policing disabled persons, transportation of juveniles, and/or the

   processing of juveniles;

               d. CITY and SCHOOL DISTRICT did not adopt and implement, or did

   not enforce, policies, procedures and/or training that complied with the Americans

   with Disabilities Act (“ADA”), regarding the criminal investigation, use of force,

   arrest, policing within an elementary school, policing disabled persons,

   transportation of juveniles, and/or the processing of juveniles;

               e. CITY and SCHOOL DISTRICT discovered the above conduct from

   school records, written reports, court documents, WAITE, SIMS, MALGRAT,

   and/or MALGRAT’S body camera video.

               f. CITY and SCHOOL DISTRICT did not conduct an internal

   investigation of the incident.

               g. CITY and SCHOOL DISTRICT did not discipline HERIN, SHEER,

   HENRIQUEZ, WAITE, SIMS, and/or MALGRAT.

               h. CITY and SCHOOL DISTRICT did not retrain HERIN, SHEER,

   HENRIQUEZ, WAITE, SIMS, and/or MALGRAT.

               i. SCHOOL DISTRICT promoted both HERIN and SHEER.

         75.     As a direct result of the Defendants’ conduct, HMM suffered a

   psychological injury that manifested itself physically, i.e., loss of breath, hives,

   stomach aches, headaches, insomnia, nightmares, and refusal to sleep alone.

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                                       COUNT I

               Plaintiff v. HERIN, SHEER, HENRIQUEZ & MALGRAT
                    Fourteenth Amendment (State Created Danger)
                              Pursuant to 42 U.S.C. § 1983

         76.    Paragraphs 1-75 are incorporated herein by reference.

         77.    HERIN and SHEER were school officials who observed the

   aforementioned events and failed to intervene to stop them.

         78.    HERIN and SHEER, as school officials, HENRIQUEZ, as a teacher,

   and MALGRAT, as a school resource officer, had a special relationship with HMM

   who was a special needs student in the school.

         79.    Specifically, during the school day, they served in loco parentis to

   HMM.

         80.    As a result of this special relationship, HERIN, SHEER, HENRIQUEZ

   and MALGRAT had a duty to protect HMM from injury.

         81.    Despite this duty, HERIN, SHEER, HENRIQUEZ and MALGRAT

   increased the risk that HMM would suffer injury when they caused WAITE and

   SIMS to be summoned to the school and relinquished custody of HMM to them.

         82.    As a direct and proximate result of the Defendants’ conduct, HMM

   suffered and will continue to suffer embarrassment, humiliation, and psychological

   injury that manifested itself physically, some or all of which may be permanent.

         83.    As a direct and proximate result of the Defendants’ conduct and the

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   prosecution of this civil litigation, Plaintiff has incurred and will incur attorneys’

   fees and litigation costs.

                                        COUNT II

                      Plaintiff v. WAITE, SIMS, and MALGRAT
                         Fourth Amendment (Excessive Force)
                              Pursuant to 42 U.S.C. § 1983

         84.    Paragraphs 1-75 are incorporated herein by reference.

         85.    The right to be free from excessive force during a seizure is clearly

   established. Poole v. City of Shreveport, 691 F.3d 624, 627 (5th Cir. 2012).

         86.    Claims that a police officer used excessive force are analyzed under an

   “objective reasonableness” standard. See Graham v. Connor, 490 U.S. 386, 388

   (1989).

         87.    To state a Fourth Amendment claim of excessive force, a Plaintiff must

   establish that (1) he was seized, (2) he suffered an injury (3) the injury resulted

   directly from a use of force, and (4) the force used was objectively unreasonable.

   Flores, 381 F.3d at 396; Tarver v. City of Edna, 410 F.3d 745, 751 (5th Cir. 2005);

   Bush v. Strain, 513 F.3d 492, 500-01 (5th Cir. 2008).

         88.    An objectively reasonable police officer, i.e., a police officer acting in

   accordance with state and federal law, local and national training standards, and the

   Key West Police Department’s policies and procedures, would have known that (a)

   seizing HMM, (b) using force against HMM, (c) restricting HMM’S movement, and

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   (d) causing HMM’S continued detention, would violate clearly established law.

         89.    Specifically, an objectively reasonable police officer would know that

   handcuffing an 8 year old boy, who was only approximately 3 feet 6 inches tall, 64

   pounds, who posed no threat to himself or others, and who did not present as a flight

   risk, for the purpose of teaching him a lesson, violated clearly established law and

   violated the Fourth Amendment as a matter of law. See Gray ex rel Alexander v.

   Bostic, 458 F.3d 1295 (11th Cir. 2006).

         90.    As a direct and proximate result of the Defendants’ conduct, HMM

   suffered and will continue to suffer embarrassment, humiliation, and psychological

   injury that manifested itself physically, some or all of which may be permanent.

         91.    As a direct and proximate result of the Defendants’ conduct and the

   prosecution of this civil litigation, Plaintiff has incurred and will incur attorneys’

   fees and litigation costs.

                                       COUNT III

   Plaintiff v. HERIN, SHEER, HENRIQUEZ, WAITE, SIMS, and MALGRAT
                     Fourth Amendment (Duty to Intervene)
                          Pursuant to 42 U.S.C. § 1983

         92.    Paragraphs 1-75 are incorporated herein by reference.

         93.    HERIN, SHEER, HENRIQUEZ, WAITE, SIMS, and MALGRAT each

   had a duty to intervene to prevent the other from engaging in unlawful conduct.

         94.    HERIN, SHEER, HENRIQUEZ, WAITE, SIMS, and MALGRAT each

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   had a duty to intervene to prevent the other from causing HMM to unlawfully suffer

   injury.

         95.    HERIN, SHEER, HENRIQUEZ, WAITE, SIMS, and MALGRAT each

   had a meaningful and appreciable opportunity to intervene to prevent the

   aforementioned conduct but failed or refused to do so.

         96.    As a direct and proximate result of the Defendants’ conduct, HMM

   suffered and will continue to suffer embarrassment, humiliation, and psychological

   injury that manifested itself physically, some or all of which may be permanent.

         97.    As a direct and proximate result of the Defendants’ conduct and the

   prosecution of this civil litigation, Plaintiff has incurred and will incur attorneys’

   fees and litigation costs.

                                       COUNT IV

                      Plaintiff v. CITY and SCHOOL DISTRICT
                            Americans with Disabilities Act

         98.    Paragraphs 1-75 are incorporated herein by reference.

         99.    Title II of the Americans with Disabilities Act (“ADA”) applies to state

   and local government entities, and, in subtitle A, protects qualified individuals with

   disabilities from discrimination on the basis of disability in services, programs, and

   activities provided by state and local government entities.

         100. Title II extends the prohibition on discrimination established by section

   504 of the Rehabilitation Act of 1973, as amended, 29 U.S.C. 794, to all activities
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   of state and local governments regardless of whether these entities receive Federal

   financial assistance.

         101. CITY and SCHOOL DISTRICT knew through their employees and

   agents that HMM suffered from a qualifying disability.

         102. CITY and SCHOOL DISTRICT assumed a duty of care over HMM.

         103. CITY and SCHOOL DISTRICT failed to provide proper policy or

   training to their agents and employees who they assigned the duty of providing care,

   custody, and control, over minor disabled students like HMM.

         104. CITY and SCHOOL DISTRICT assigned or otherwise permitted their

   agents and employees who were not properly trained or supervised regarding

   HMM’s disabilities to provide care, custody, and control, over HMM.

         105. CITY and SCHOOL DISTRICT through their agents and employees

   failed to accommodate HMM’s disability.

         106. Pursuant to the IDEA, HMM was entitled to a free and appropriate

   public education (“FAPE”).

         107. CITY and SCHOOL DISTRICT through the actions of their agents and

   employees who violated the ADA, deprived HMM of his right to FAPE.

         108. As a direct and proximate result of the Defendants’ conduct, HMM

   suffered and will continue to suffer embarrassment, humiliation, and psychological

   injury that manifested itself physically, some or all of which may be permanent.

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         109. As a direct and proximate result of the Defendants’ conduct and the

   prosecution of this civil litigation, Plaintiff has incurred and will incur attorneys’

   fees and litigation costs.

                                          COUNT V

                     Plaintiff v. CITY and SCHOOL DISTRICT
              Fourth and Fourteenth Amendments—Municipal Liability
                             Pursuant to 42 U.S.C. § 1983

         110. Paragraphs 1-75 are incorporated herein by reference.

         111. “Local governing bodies . . . can be sued directly under § 1983 for

   monetary, declaratory, or injunctive relief where . . . the action that is alleged to be

   unconstitutional implements or executes a policy statement, ordinance, regulation,

   or decision officially adopted and promulgated by that body’s officers.” Monell v.

   Dep’t of Soc. Servs., 436 U.S. 658, 690 (1978).

      112.        In addition, a failure to train may give rise to municipal liability if the

   failure to train amounts to “deliberate indifference to the rights of persons with

   whom the [untrained employees] come into contact.” Canton v. Harris, 489 U.S.

   378, 388 (1989).

      113.        CITY and SCHOOL DISTRICT knowingly failed to maintain policies,

   practices, and training that met the minimum standards in the industry.

      114.        Merely sending a police officer to the academy does not satisfy training

   obligations.

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      115.      Rather, the CITY remained responsible for ensuring that its police

   officers were properly trained, remained properly trained, and acted in accordance

   with said training.

      116.      As discussed herein, CITY and SCHOOL DISTRICT maintained

   policies, practices, and customs, which were the moving force that resulted in

   HMM’S constitutional rights being violated.

      117.      In the alternative, CITY and SCHOOL DISTRICT failed to implement

   proper policies and training, as discussed herein, which was the moving force that

   resulted in HMM’S constitutional rights being violated.

      118.      As a direct and proximate result of the Defendants’ conduct, HMM

   suffered and will continue to suffer embarrassment, humiliation, and psychological

   injury that manifested itself physically, some or all of which may be permanent.

      119.      As a direct and proximate result of the Defendants’ conduct and the

   prosecution of this civil litigation, Plaintiff has incurred and will incur attorneys’

   fees and litigation costs.




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         WHEREFORE, Plaintiff respectfully requests that judgment be entered in

   her favor as follows:

         A.     Declaratory Judgment: Providing that the Defendants’ individual and

   collective conduct violated HMM’S Federal Constitutional rights;

         B.     Compensatory Damages: Including, but not limited to, the monetary

   value associated with the following: violations of legal rights, emotional distress,

   emotional injury, loss of liberty, embarrassment, and loss of reputation;

         C.     Punitive damages as permitted by law;

         D.     Equitable Relief: A written admission of the allegations stated in the

   Complaint, an in-person oral apology, and a written admission and apology on the

   SCHOOL DISTRICT and CITY’S official letterhead;

         E.     Attorney’s Fees and Costs; and

         F.     Discretionary Damages and Relief: Such other financial or equitable

   relief that the Court deems reasonable and just.




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                                   Jury Trial Demand

         Plaintiff respectfully requests a trial by jury on all claims/issues in this matter

   that may be tried to a jury.


   Respectfully Submitted,


   s/ Devon M. Jacob
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